                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )      No.:   3:13-CR-45-TAV-CCS-34
                                                 )
MICHAEL LEE JACKSON,                             )
                                                 )
              Defendant.                         )


                             MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s pro se Motion for

Reduction of Sentence Pursuant to 18 U.S.C. § 3582 [Doc. 1282]. The United States

filed a response in opposition, asserting that not only has the defendant failed to identify

any particular Guidelines amendment authorizing the relief he seeks, the Guidelines

provisions have not been amended since he was sentenced. Moreover, the defendant’s

Guidelines range was restricted by a statutory mandatory minimum, and thus his

Guidelines range would be unchanged by a Guidelines amendment [Doc. 1304].

I.      Legal Background

        A district court may modify a defendant’s sentence after judgment has been

entered only if modification is permitted by statute. United States v. Ross, 245 F.3d 577,

586 (6th Cir. 2001). Modification is permitted by § 3582(c)(2) when the sentencing

range for the offense for which the defendant was sentenced has been lowered:

              [I]n the case of a defendant who has been sentenced to a term of
              imprisonment based on a sentencing range that has subsequently



     Case 3:13-cr-00045-TAV-DCP      Document 1332        Filed 08/22/14    Page 1 of 4
                                     PageID #: 5572
             been lowered by the Sentencing Commission pursuant to 28 U.S.C.
             § 994(o) . . . the court may reduce the term of imprisonment, after
             considering the factors set forth in section 3553(a) to the extent that
             they are applicable, if such a reduction is consistent with applicable
             policy statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).     The applicable policy statement is section 1B1.10 of the

Guidelines Manual, which designates the amendments to the Guidelines that may be

applied retroactively. See Dillon v. United States, — U.S. —, —, 130 S. Ct. 2683, 2691

(2010) (“A court’s power under § 3592(c)(2) . . . depends in the first instance on the

Commission’s decision not just to amend the Guidelines but to make the amendment

retroactive.”); see also id. at 2693 (describing the Sentencing Commission’s retroactivity

determinations made pursuant to 28 U.S.C. § 994(u) as “binding”). In relevant part,

section 1B1.10 provides:

             (a)    Authority.--

             (1) In General.--In case in which a defendant is serving a term of
             imprisonment, and the guideline range applicable to that defendant
             has subsequently been lowered as result of an amendment to the
             Guidelines Manual listed in subsection (c) below, the court may
             reduce the defendant’s term of imprisonment as provided by 18
             U.S.C. § 3582(c)(2). As required by 18 U.S.C. § 3582(c)(2), any
             such reduction in the defendant’s term of imprisonment shall be
             consistent with this policy statement.

             (2) Exclusions.--A reduction in the defendant’s term of
             imprisonment is not consistent with this policy statement and
             therefore is not authorized under 18 U.S.C. 3582(c)(2) if--

             ...

             (B) An amendment listed in subsection (c) does not have the effect
             of lowering the defendant’s applicable guideline range.

                                            2


   Case 3:13-cr-00045-TAV-DCP       Document 1332        Filed 08/22/14    Page 2 of 4
                                    PageID #: 5573
U.S. Sentencing Guidelines Manual § 1B1.10 (revised Nov. 1, 2012). The application

notes to section 1B1.10 also provide that, in considering a reduction in a defendant’s term

of imprisonment, a court must consider the § 3553 factors and the danger to the public

created by any reduction in a defendant’s sentence. Id. § 1B1.10 cmt. n.1(B). A court

may also consider a defendant’s post-sentencing conduct. Id.

II.      Analysis

         The defendant pleaded guilty to and was convicted of conspiracy to manufacture

five grams or more of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

841(b)(1)(B) [Doc. 965]. In calculating the applicable Guidelines range, the probation

officer found that the defendant had a base offense level of 26 [Presentence Investigation

Report (“PSR”) ¶ 40]. After a three-level reduction for acceptance of responsibility, his

total offense level was 23 [Id. ¶ 49]. Given the defendant’s criminal history category of

II, the corresponding Guidelines range was 51 to 63 months’ imprisonment, but this

range was restricted by the 120-month statutory mandatory minimum resulting from his

prior felony drug conviction [Id. ¶¶ 74, 75]. Thus, the effective Guidelines range was

120 months’ imprisonment [Id. ¶ 75]. The government filed a motion for downward

departure based upon the defendant’s substantial assistance, and the Court granted that

motion. On December 16, 2013, the Court sentenced the defendant to 90 months’

imprisonment [Doc. 965].

         Because the Guidelines have not been amended since the defendant was

sentenced, the defendant’s motion is necessarily without merit.        In any event, the

                                            3


      Case 3:13-cr-00045-TAV-DCP     Document 1332       Filed 08/22/14    Page 3 of 4
                                     PageID #: 5574
defendant’s Guideline range was restricted by the applicable statutory mandatory

minimum, and therefore his Guideline range would be unaffected by any Guidelines

amendments. See U.S. Sentencing Guidelines Manual § 5G1.1(b) (“Where a statutorily

required minimum sentence is greater than the maximum of the applicable guideline

range, the statutorily required minimum sentence shall be the guideline sentence.”).

Therefore, even if the Guidelines had been amended since the defendant was sentenced,

the defendant would be ineligible for relief under 18 U.S.C. § 3582(c)(2). See U.S.

Sentencing Guidelines Manual § 1B1.10 (revised Nov. 1, 2012) (“A reduction in the

defendant’s term of imprisonment is not consistent with this policy statement and

therefore is not authorized under 18 U.S.C. 3582(c)(2) if . . . [a]n amendment listed in

subsection (c) does not have the effect of lowering the defendant’s applicable guideline

range.”).

III.   Conclusion

       For the reasons stated herein, the defendant’s pro se Motion for Reduction of

Sentence Pursuant to 18 U.S.C. § 3582 [Doc. 1282] is hereby DENIED.

       IT IS SO ORDERED.



                                 s/ Thomas A. Varlan
                                 CHIEF UNITED STATES DISTRICT JUDGE




                                           4


   Case 3:13-cr-00045-TAV-DCP       Document 1332      Filed 08/22/14    Page 4 of 4
                                    PageID #: 5575
